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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 16-CV-21750

 CHRISTOPHER HANSEN,

        Plaintiff,

 vs.

 2090 PALM LLC,

       Defendant.
 __________________________/

                            JOINT STIPULATION OF DISMISSAL

       Plaintiff, and Defendant, having entered into a Confidential Settlement Agreement thereby

 resolving the claim brought in the above-referenced Action against Defendant, hereby stipulate

 to the dismissal of the above styled action and request the Court to enter an Order dismissing this

 cause with prejudice.

 Dated July 13, 2016.


 Respectfully submitted,
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 By: s/ Lauren N. Wassenberg                        By: s/ Grover M Moscowitz
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         Florida Bar No. 34083                               Florida Bar No. 204226
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                                  CERTIFICATE OF SERVICE

        I HEREBY certify that on this 14th day of July, 2016, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 is being served this day on all counsel or record or pro se parties identified on the Service List

 below in the manner specified, either via transmission of Notices of Electronic Filing generated

 by CM/ECF or in some other authorized manner for those counsel or parties who are not

 authorized to receive electronically Notices of Electronic Filing.


                                               By: s/ Lauren Wassenberg
                                                 Lauren Wassenberg, Esq.
                                                 Florida Bar No.: 34083
